_ Case 8:23-cv-00531-SDM-UAM Document 96-2 Filed 07/12/24 Page 1 of 4 PagelD 3689

A JOB OPPORTUNITY
ANNOUNCEMENT

CLOSING DATE: April 15", 2016

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AN EQUAL EMPLOYMENT OPPORTUNITY/
AMERICANS WITH DISABILITIES ACT/
AFFIRMATIVE ACTION EMPLOYER

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_ Case 8:23-cv-00531-SDM-UAM Document 96-2 Filed 07/12/24 Page 2 of 4 PagelD 3690

Employees who are interested in applying for the following position may submit an Employee
Request for Consideration form directly to the Human Resources Dept. Forms are available in the
as Clerk's Human Resources Department. One's eligibility for a position is determined by education,
related job experience, past job performance and attendance records.

ALL REQUESTS FOR CONSIDERATION MUST BE RECEIVED IN THE HUMAN RESOURCES
OFFICE NO LATER THAN April 15", 2016.

Job Title: Human Resources Officer
Position #: 3001

Pay Grade: 0403

Department: Human Resources

PURPOSE:

The Human Resources Officer serves on the Strategic Planning Committee and demonstrates

the presence of a strategic leader that leads to outcomes that are linked to the Strategic Plan

and direction of the organization as well as the annual budget. As a strategic leader, this

position is responsible for developing organization knowledge and the sharing of knowledge

outside of the functional area of expertise with other leaders within the organization. The

roman Resources Officer is a senior management position and is designated as Essential
ersonnel.

This position will be responsible for managing the overall provision of human resources for the
="\ organization, which includes the policies within the personnel handbook, managing
compensation (external equity) and benefits (direct & indirect) recruitment and retention,
performance appraisal and monitoring (internal equity), employee counseling, and the
organization's training and professional development programs. In addition, this position is
responsible for designing, overseeing and implementing the compensation and benefits
programs, monitoring salary structures, and balancing staffing needs with cost controls. Staying
current of changing federal and state employee benefits regulations, as well as the shifting
needs of the workplace Is a valued service and must be considered as this position provides
direct oversight of the volunteer and Internship programs.

This position works closely with senior leaders and managers, providing expert guidance,
coaching and support on the full range of human resource activities including policies and
procedures, absence management, restructuring of services, performance management and the
disciplinary process in order to ensure a consistent and fair approach across the organization.
Educating, mentoring and training human resources staff, as well as providing training/coaching
to the leadership team on human resource processes and best practice is expected.

The Human Resources Officer is responsible for designing, developing and maintaining the
recruitment process including a current Job description, recruitment measurement definitions
and regular measurement reporting and redesigning the selection matrix for choosing the
optimum recruitment channel and recruitment source. This position will establish interview
committees and will be expected to conduct interviews as well. The recruitment efforts will
consist of both the traditional methods of advertising and posting, but will need to design a
method to reach across various social media channels and utilize legally compliant automation
om screening and testing tools. New hire orientation, stay-on Interviews, performance improvement

training, career development, and oversight of the initiatives of the special event committee are
other areas of responsibilities of this position.

BOLDEN 000174
Case 8:23-cv-00531-SDM-UAM Document 96-2 Filed 07/12/24 Page 3 of 4 PagelD 3691

Monitoring the HRIS system and interfaces to ensure compliance and data integrity and
managing the third-party human resource vendor resources system analyst, project managers
and consultants are expectations of this position. Accurate data collection and analysis, as well
as maintaining and retaining accurate employee records in accordance with retention laws are
also expectations.

Additional duties may be assigned as they relate to the mission of the Clerk of the Circuit Court
organization.

QUALIFICATIONS:

Education

A Bachelor's Degree from an accredited college or university in Human Resources
Management, Business Administration, or related field is required. A Master's in Business
Administration (MBA) preferred,
(Certification in one functional area required, two preferred):

e Compensation Professional (CCP)

e Certified Employee Benefits Specialist (CEBS)

e Senior Professional in Human Resources (SPHR)

Experience

Five or more years of work experience within a human resources department in a lead position
and hands on experience utilizing HRIS systems, as well as other applications that are focused
on personnel management such as time and attendance, performance evaluation systems, HR
dashboards, etc. In depth knowledge of the basic principles and laws pertaining to personnel
administration, employee recruitment and retention, use of compensation and benefits
forecasting and strategy tools, as well as participation in the development and deployment of
training programs are requirements.

Management Experience

Seven to ten years of management experience serving in a senior level position is required. In
depth knowledge of the basic principles and laws pertaining to personnel administration and
management, employee selection, compensation, employee relations, training and development
and employee benefits is required.

Knowledge Base
1. | Knowledge of the basic principles and laws pertaining to personnel administration, employee
selection, compensation, employee relations, training and development, and employee benefits.

2. Knowledge of the principle and techniques of effective verbal and written communication. Skill In the
application of these techniques both for effective personal communication and to guide others
towards a more effective verbal and written communication.

3. Knowledge and ability to collect, evaluate, and analyze data related to personne programs and
functions.

Knowledge of effective techniques used in problem solving.
Knowledge and ability to present facts and recommendations effectively.

6. Knowledge of modem office practices, procedures and methads Including human resources
integrated software and hardware implementations.

Knowledge of project management and financial management.

8. Knowledge of the public records law and the retention laws associated with employment records and
records in general.

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Personal Characteristics

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Case 8:23-cv-00531-SDM-UAM Document 96-2 Filed 07/12/24 Page 4 of 4 PagelD 3692

1. Adaptability: Demonstrates a willingness to be flexible, versatile and/or tolerant In a changing work
environment while maintaining effectiveness and efficiency.

2. Ethical Behavior: Understand ethical behavior and business practices and ensure that own

me behavior and the behavior of others is consistent with these standards and aligns with the values of
the organization.

3. Build Relationships: Able to build and maintain positive working relationships with others, both
intemally and externally to achieve the goals of the organization.

4. Communicate Effectively: Speak, listen and write in a clear, thorough, and timely manner using
appropriate and effective communication tools and techniques.

5.  Creativity/Innovation: Develop new and unique ways to improve operations of the organization and
to create new opportunities.

6. Focus on Customer Needs: Anticipate, understand, and respond to the needs of internal and
extemal customers to meet or exceed their expectations within the organizational parameters.

7. Foster Teamwork: Work cooperatively and effectively with others to set goals, resolve problems,
and make decisions that enhance organizational effectiveness.

8. Lead: Positively influence others to achieve results that are in the best interest of the organization.

9. Make Decisions: Assess situations to determine the importance, urgency and risks and make clear
decisions which are timely and in the best interests of the organization.

10. Organize: Set priorities, develop a work schedule, monitor progress toward goals and track details,
data, Information and activities,

11. Plan: Determine strategies to move the organization forward, set goals, create and implement
actions plans, and evaluate the process and results,

12. Solve Problems: Assess problem situations to Identify causes, gather and process relevant
information, generate possible solutions, and make recommendations and/or resolve the problem.

13. Think Strategically: Assess options and actions based on trends and conditions in the
environment and the vision and values of the organization.

WORK ENVIRONMENT

The Human Resources Officer usually works in an office environment, but the mission of the
organization may sometimes take then to non-standard workplaces. The Human Resources
Officer works a standard work week, but, additionally, will often work evenings, weekends, and
overtime hours to accommodate activities such as meetings held after the normal business day,
possibly representing the organization at events as directed, and or special events planned for
the employees of the organization. Frequently, requires working under stressful conditions,
handling of varied personalities of both internal and external customers. Customer base
consists of the general public, local and state governmental agencies, and employees of the
Clerk's office, Board of County Commissioners and other Elected Officials. Job requires the
employee to be able to handle diverse tasks simultaneously.

General Office Equipment
Computer equipment and peripherals
Photocopier and Fax Machine
Telephone, Calculator, etc.

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